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 8

 9                                IN THE UNITED STATES DISTRICT COURT

10                                   EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                           CASE NO. 2:15-cr-00176-TLN
12
                                   Plaintiff,
13                                                       STIPULATION AND ORDER REGARDING
                             v.                          RESTITUTION
14
     SOMALY SIV,                                         DATE: October 26, 2017
15                                                       TIME: 9:30 a.m.
                                  Defendant.             COURT: Hon. Troy L. Nunley
16

17

18          The United States of America, by and through Assistant United States Attorney Rosanne Rust,
19 and defendant Somaly Siv, by and through her counsel Michael Chastaine, respectfully request that the

20 Court vacate the October 26, 2017, restitution hearing and order that defendant Somaly Siv pay

21 restitution in the amount of $82,164.84 for the following reasons:

22          1.       The Court sentenced Somaly Siv on June 1, 2017, but did not order restitution at the time
23 of sentencing. Instead, the matter of restitution was set to be determined at a later restitution hearing

24 scheduled for August 24, 2017. ECF No. 182.

25          2.       On or about August 22, 2017, this Court granted the parties’ joint request to continue the
26 restitution hearing to September 7, 2017. ECF No. 221.
27          3.       On or about September 5, 2017, this Court granted the parties’ joint request to continue
28 the restitution hearing again to October 26, 2017. ECF No. 240.


      STIPULATION AND ORDER REGARDING RESTITUTION         1
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 1          4.       Since the sentencing hearing, the parties have conferred regarding the proper restitution

 2 amount in this case. Pursuant to those discussions, the parties hereby stipulate and agree that defendant

 3 Somaly Siv shall be liable for restitution in the amount of $82,164.84, and that any restitution owed to

 4 the victim, Target at Target AP Recovery, 23046 Avenida de la Carlota, Suite #600, Laguna Hills, CA

 5 92653, is owed jointly and severally with any co-defendant who has been ordered to pay restitution to

 6 the same victim.

 7          5.       The parties also agree that the amount of restitution set forth in this Stipulation is

 8 supported by a preponderance of the evidence.

 9          6.       Defendant further agrees to pay restitution as set forth herein.

10          7.       Payment shall be made by cashier’s check payable to the Clerk of the Court for the

11 Eastern District of California. Pursuant to 18 U.S.C. § 3664(k), the defendant also understands that she

12 must notify the Court and the Attorney General of any material change in her economic circumstances

13 that might affect her ability to pay restitution.

14          8.       The parties further agree that payment of restitution during Defendant’s imprisonment

15 should be through the Bureau of Prisons Inmate Financial Responsibility Program.

16          9.       The parties will separately provide to the Probation Office an itemized list of the amounts

17 due to respective victims and the victims’ addresses.

18                   IT IS SO STIPULATED.

19 Dated: October 23, 2017                                      PHILLIP A. TALBERT
                                                                United States Attorney
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21                                                     By: /s/ ROSANNE RUST
                                                           ROSANNE RUST
22                                                         ANDRÉ ESPINOSA
                                                           Assistant United States Attorneys
23 Dated: October 23, 2017

24                                                          /s/ MICHAEL CHASTAINE
                                                            MICHAEL CHASTAINE
25                                                          Attorney for Defendant Somaly
                                                            Siv
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       STIPULATION AND ORDER REGARDING RESTITUTION          2
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 1                                                  ORDER
 2          The Court has reviewed the Stipulation of the parties for an order holding defendant Somaly Siv

 3 liable for restitution in the amount of $82,164.84. Based on that stipulation and the defendant’s

 4 obligation to pay restitution pursuant to 18 U.S.C. § 3663A, the Court finds good cause to enter an order

 5 holding Somaly Siv liable for restitution in the amount of $82,164.84. The defendant shall pay

 6 restitution in the amount of $82,164.84, and any restitution owed to the victim, Target at Target AP

 7 Recovery, 23046 Avenida de la Carlota, Suite #600, Laguna Hills, CA 92653, is owed jointly and

 8 severally with any co-defendant who has been ordered to pay restitution to the same victim.

 9          Payment shall be made by cashier’s check payable to the Clerk of the Court for the Eastern

10 District of California. Payment of restitution during the defendant’s imprisonment shall be made

11 through the Bureau of Prisons Inmate Financial Responsibility Program.

12          Pursuant to 18 U.S.C. § 3664(k), the defendant must notify the Court and the Attorney General

13 of any material change in her economic circumstances that might affect her ability to pay restitution.

14          The parties are further ordered to provide the Probation Office within 7 days of this Order an

15 itemized list of the victims, victims’ addresses, and amounts owing to each victim. The hearing set for

16 Thursday, October 26, 2017, in this case is hereby vacated.

17                 SO ORDERED.

18 Dated: October 25, 2017

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                                                                   Troy L. Nunley
22                                                                 United States District Judge

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      STIPULATION AND ORDER REGARDING RESTITUTION       3
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